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                                         ORDERED.

     Dated: August 19, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 In re                                         )
                                               )       CHAPTER        7
 Angel Castaneda                               )       CASE NO.       6:19-bk-04304-CCJ
 and                                           )
 Marlene Margolis
 Debtor(s)                                     )
                                               )


    ORDER GRANTING EAGLE HOME MORTGAGE, LLC RELIEF FROM STAY
         THIS CASE came on for consideration upon the Motion for Relief from Stay filed by

EAGLE HOME MORTGAGE, LLC ("Creditor") (DOC. NO. 7). No appropriate response

having been filed in accordance with Local Rule 2002-4, it is ORDERED:

         1.     The Motion is granted.

         2.     The automatic stay arising by reason of 11 U.S.C. Section 362 is terminated as to

Movant's interest in the following property: REAL PROPERTY LOCATED: 5805

SANDBIRCH WAY LAKE WORTH, FL 33463, LEGALLY DESCRIBED AS: LOT 60,

OF SILVERWOOD ESTATES, ACCORDING TO THE PLAT THEREOF, AS
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RECORDED IN PLAT BOOK 119, PAGE 174, OF THE PUBLIC RECORDS OF PALM

BEACH COUNTY, FLORIDA.
       3.      The Order Granting Relief from Stay is entered for the sole purpose of allowing

movant complete in rem relief, to take any and all steps necessary to exercise any and all rights it

may have in the collateral, to gain possession of said collateral, to have such other and further in

rem relief as is just, and that movant shall not obtain in personam relief against the debtor.

       4.      Attorney’s fees and costs of up to $531.00 are hereby awarded for the prosecution

of this Motion For Relief From Stay.

       5.      The fourteen (14) day period in Bankruptcy Rule 4001 (a)(3) is waived as

requested in the Creditor's Motion. The automatic stay is deemed terminated as of the date of the

entry of this Order.



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Attorney Jessica Hicks is directed to serve a copy of this order on interested parties who are

non-CM/ECF users and to file a proof of service within three days of the entry of this order.
